     Case 13-51530-tnw        Doc 47Filed 03/01/18 Entered 03/01/18 11:29:20            Desc Main
                                    Document      Page 1 of 1
                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF KENTUCKY
                               THE HONORABLE Gregory R. Schaaf



      IN RE:                                                          CASE NUMBER 13-51530
          Jerry L. Townsend


                      U.S. BANKRUPTCY JUDGE'S MINUTES OF HEARING

      DATE: 3/1/2018                                                            TIME: 09:30

      APPEARANCES:

      ISSUE:
        44      2/9/2018         Motion for Relief from Stay, filed by United States
                                 Rural Development Fee Amount 181. Hearing scheduled
                                 for 3/1/2018 at 09:30 AM at Lexington Courtroom, Ch.
                                  13. (Attachments: # 1 Continuation

      DISPOSITION:
              Moot




__________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                    Signed By:
                                                    Gregory R. Schaaf
                                                    Bankruptcy Judge
                                                    Dated: Thursday, March 01, 2018
                                                    (rah)
